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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                    )      Case No.: 1:10 CR 150-12
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )      ORDER ACCEPTING PLEA
EDWARD CHESLOW,                              )      AGREEMENT, JUDGMENT AND
                                             )      REFERRAL TO U. S. PROBATION
       Defendant                             )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge James S. Gallas, regarding the change of plea hearing of Edward Cheslow,

which was referred to the Magistrate Judge with the consent of the parties.

       On April 7, 2010, the government filed a one count Indictment, charging Defendant,

Edward Cheslow, with Conspiracy to Distribute Controlled Substance in violation of Title 21

United States Code, Section 846. Defendant Cheslow was arraigned on May 14, 2010, entered a

plea of guilty to count 1 of the Indictment and Magistrate Judge Gallas issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of

guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it
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was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Edward Cheslow is found to be competent to enter a plea and to understand his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds the plea was entered knowingly,

intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Defendant Cheslow is adjudged guilty to Count 1 of the Indictment, in

violation of Title 21 United States Code, Section 846. This matter was referred to the U. S.

Probation Department for the completion of a pre-sentence investigation and report. Sentencing

will be on August 28, 2010, at 2:00 p.m. in Courtroom 19-A, Carl B. Stokes United States Court

House, 801 West Superior Avenue, Cleveland, Ohio.

       IT IS SO ORDERED.

                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE

June 14, 2010
